
                                                                    








				











COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 

NO. 2-04-333-
CV





IN RE RAFAEL ALVARO PRIETO	RELATOR



------------

ORIGINAL PROCEEDING

------------

MEMORANDUM
 
OPINION
(footnote: 1)
------------

The court has considered relator's petition for writ of mandamus 
and is of the opinion that relief should be denied. &nbsp;Accordingly, relator's petition for writ of mandamus is denied.



PER CURIAM





PANEL B
: WALKER, HOLMAN, and MCCOY, JJ.



DELIVERED: November 10, 2004



FOOTNOTES
1:See 
Tex. R. App. P. 47.4
.




